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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MISSOURI
                         EASTERN DIVISION

SARASOTA WINE MARKET, LLC,                    )
d/b/a MAGNUM WINE AND                         )
TASTING, et al.,                              )
                                              )
                         Plaintiffs,          )
                                              )
v.                                            )   Case No. 4:17-cv-2792 HEA
                                              )
MICHAEL L. PARSON, et al.,                    )
                                              )
                         Defendants.          )

              DEFENDANTS’ RESPONSE TO PLAINTIFFS’
              NOTICE OF NEW PERTINENT AUTHORITY

      Defendants state that the new, pertinent authority is a case out of the

Eastern District of Michigan, a district court in the Sixth Circuit. Lebamoff

Enterprises v. Snyder, Case No. 17-10191 (E.D. Mich. 9/28/18). [Doc. #42-1]

Similar to Byrd v. Tennessee Wine & Spirits Assoc., 883 F.3d 608 (6th Cir. 2018),

the Court found Michigan’s shipping laws were unconstitutional because they

forbid out-of-state retailers from shipping wine to Michigan consumers.

Lebamoff, slip op. *19. [Doc. #42-1, p. 19]

      Both of these cases were decided in the Sixth Circuit. The current case

is pending in the Eighth Circuit where it has been determined that the

residency requirements are constitutional and were authorized by the Twenty-

First Amendment. Southern Wine and Spirits of Am., Inc. v. Div. of Alc. &
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Tobacco Control, 731 F.3d 799, 809-12 (8th Cir. 2013). This court is obliged to

follow the holdings of the Eighth Circuit.

                                             Respectfully submitted,

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                                             Attorneys for Defendants

                        CERTIFICATE OF SERVICE

      The undersigned hereby certifies that on the 4th day of October, 2018, a
copy of the foregoing was filed via the Court’s electronic filing system and was
served by operation of the CM-ECF system on all counsel of record.

                                             /s/ Katherine S. Walsh




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